         Case 4:22-cv-01102-WIA Document 22 Filed 09/21/22 Page 1 of 2




                                                               Richard E. Lerner
                                                               RICHARD@MAZZOLALINDSTROM.COM
                                                               O: 646-813-4345
                                                               M: 917-584-4864
September 21, 2022
Via ECF
Magistrate Judge William I. Arbuckle
Herman T. Schneebeli Federal Bldg. & U.S. Courthouse
240 West Third Street
Williamsport, PA 17701


       Re:    Parfinim NV (petitioner) v. Warden Tellez (respondent)
              / Warden Rachel Thompson (respondent)
              Docket No.: 4:22-cv-01102-WIA
              Parfinim NV and Aiden Fine Arts, Inc. v. Uovo Art, LLC, et al., 656534/2019


Dear Magistrate Judge Arbuckle:
        I am writing on behalf of petitioner Parfinim NV to update the court as to deposition of
inmate Inigo Philbrick.
        The deposition commenced on September 15; however, due to technical difficulties it
was very quickly terminated. The court reporter was unable to make an accurate record because
of poor acoustics in the room in which Mr. Philbrick was being deposed, and because the remote
access link was glitchy.
        Fortunately, Warden Thompson has quite graciously agreed to allow the parties to
complete the deposition in person at the prison, and the parties (Parfinim and Aiden Fine Arts)
are in the process of setting the date. The parties have jointly requested the dates of November 7,
8 or 9 from the BOP, but have not yet had confirmation from them of the date.
        Accordingly, while not yet moot, we do expect this habeas petition to become moot very
soon.

                                              Respectfully submitted,
                                              MAZZOLA LINDSTROM LLP

                                              Richard E. Lerner




                 1350 Avenue of The Americas, Second Floor, New York, New York 10019
                  1999 Avenue of The Stars, Suite 1100, Los Angeles, California 90067
                                     www.mazzolalindstrom.com
        Case 4:22-cv-01102-WIA Document 22 Filed 09/21/22 Page 2 of 2
                                                                             Page 2 of 2




cc:   (via email)

      Associate Warden Ryan Miller (BOP) rxxmiller@bop.gov
      Matthew Lavelle (BOP) mlavelle@bop.gov
      Jennifer Knepper (BOP) jknepper@bop.gov
      Shawn Dyroff (BOP) SDyroff@bop.gov
      Curt Rothermel (BOP) crothermel@bop.gov
      Timothy Hugar (BOP) thugar@bop.gov
      Terry Bingaman (BOP) tbingaman@bop.gov
      Steven Schindler SSchindler@schlaw.com (for Aiden Fine Art)
      Katherine Wilson-Milne kwilson-milne@schlaw.com (for Aiden Fine Art)
      Jenny Gu jgu@schlaw.com (for Aiden Fine Art)
      Wendy Lindstrom wendy@mazzolalindstrom.com (for Parfinim)
      Nina Edelman nina@mazzolalindstrom.com (for Parfinim)




                                           2
